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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

PILKINGTON NORTH AMERICA, INC.,

Plaintiff,

 

-against- : No. 18 Civ. 8152 (JFK)
MITSUI SUMITOMO INSURANCE CO. : ORDER
OF AMERICA and AON RISK :
SERVICES CENTRAL, INC.,

Defendants.

JOHN F. KEENAN, United States District Judge:

As requested by the parties, oral argument on (1) Aon Risk
Services Central, Inc.’s motion to dismiss Mitsui Sumitomo
Insurance Company of America’s (“MSI”} amended cross~-claims,
{ECF No. 160), and (2) MSI’s cross-motion to compel arbitration,

{ECF No. 162), will be heard telephonicaily on December 15, 2020

 

at 11:00 a.m. using the following conference line and dial-in:

AT&T Conference Line: 1-888-363-4749
Access Code: 788 3927 #

 

SO ORDERED.

Dated: New York, New York :
November 2, 2020 tae) A;
John F.° Keenan

United States District Judge

 

 

 
